Case 1:16-cv-05303-DLI-RER Document 30 Filed 09/29/17 Page 1 of 5 PageID #: 171




 MICHAEL FAILLACE & ASSOCIATES, P.C.
 Michael A. Faillace [MF-8436]
 60 East 42nd Street, Suite 2540
 New York, New York 10165
 Telephone: (212) 317-1200
 Facsimile: (212) 317-1620
 Attorneys for Plaintiffs

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 RICARDO PEREZ CAMPOS and GERARDO
 GONZALEZ individually and on behalf of                     DECLARATION IN SUPPORT OF
 others similarly situated,                                 PLAINTIFFS’ MOTION TO
                            Plaintiffs,                     STRIKE THE ANSWER OF THE
                                                            DEFENDANTS
                  -against-
                                                            Index No. 16-cv-05303-DLI-RER
 QUENTIN MARKET CORP. (d/b/a
 QUENTIN MARKET), WON KE LEE, SEAN
 OH, and SUSAN JONG LEE.

                                     Defendants.
 -------------------------------------------------------X

        COLIN MULHOLLAND, an attorney duly admitted to practice in New York and in this

Court, affirms on penalty of perjury pursuant to 28 U.S.C. § 1746 as follows:

        1.       I represent the Plaintiffs RICARDO PEREZ CAMPOS and GERARDO

GONZALES (“Plaintiffs”), in this lawsuit for unpaid wages, liquidated damages, and attorneys’

fees under the FLSA and New York Labor Law and regulations. I submit this affirmation in

support of Plaintiffs’ application to strike the Defendants’ answer and for entering a default

judgment against Defendant QUENTIN MARTKET CORP., WON KE LEE, SEAN OH, and

SUSAN JONG LEE pursuant to Fed. R. Civ. P. 55(b)(2) and Local Rule 55.2(b).

        2.                Defendants have appeared in this action by counsel but have since defaulted

by failing to participate in discovery, failing to obey court orders and failing to participate in

discovery or to otherwise defend themselves in this action.
Case 1:16-cv-05303-DLI-RER Document 30 Filed 09/29/17 Page 2 of 5 PageID #: 172




Procedural History

       3.       Plaintiffs commenced this action by filing the Complaint (and associated

documents) on September 23, 2017. A true and correct copy of the Complaint is attached hereto

as Exhibit 1.

       4.       This is an action for unpaid minimum and overtime wages, spread of hours pay,

unlawful deductions from tips, liquidated damages, interest, costs and attorneys’ fees under the

Fair Labor Standards Act (29 U.S.C. § 201 et seq., “the “FLSA”) the New York Labor Law

(“NYLL”), and associated rules and regulations. See Exhibit 1, generally, Complaint, for

description of the nature of the claims.

       5.       The Court has subject matter jurisdiction of the Plaintiffs’ federal claims pursuant

to 29 U.S.C. § 201 et seq. (FLSA) and 28 U.S.C. § 1331 (federal question), and jurisdiction over

the New York state law claims (such as the NYLL) under 28 U.S.C. § 1367(a) (supplemental

jurisdiction). See Exhibit 1.

       6.       Inadvertently, counsel for Defendants answered this Complaint on behalf of all

Defendants on January 4th, 2017; however, two subsequent amended answers were filed clarifying

that counsel only represented and was authorized to Answer for Defendants Quentin Market and

Susan Jong Lee on April 14th, 2017 and May 22nd, 2017, respectively. See Exhibit 2 Answer, 3

First Amended Answer and 4 Second Amended Answer.

       7.       Defendants Won Ke Lee and Sean Oh never responded or moved with respect to

the Complaint nor otherwise appeared in this action.

                                                 2
Case 1:16-cv-05303-DLI-RER Document 30 Filed 09/29/17 Page 3 of 5 PageID #: 173




       8.     Defendant Won Ke Lee was served on October 21st, 2016 at the actual place of

business Quentin Market Corp. 3404 Quentin Road Brooklyn, NY 11234 by service upon a person

of suitable age and discretion. See Exhibit 5 Affidavit of Service for Defendant Won Ke Lee.

       9.     Defendant Sean Oh was served on October 21st, 2016 at the actual place of business

Quentin Market Corp. 3404 Quentin Road Brooklyn, NY 11234. See Exhibit 6 Affidavit of

Service for Defendant Sean Oh.

       10.    Defendants Quentin Market Corp. participated in a mediation session with counsel

on April 4, 2017.

       11.    After an unsuccessful mediation session, counsel for Defendants moved to

withdraw his representation. See Exhibit 7 Letter Motion to Withdraw.

       12.    The Court granted the application for counsel to withdraw on May 24th, 2017 and

that same day issued an order:

       “ORDER: It is hereby ORDERED that the defendants have thirty (30) days from the date

       of this order to retain new counsel, after which time the corporate defendant will be deemed

       in default. Discovery is extended until 7/15/2017 and a Status Conferences is set for June

       27, 2017 at 2:30 PM in Courtroom 2E North before Magistrate Judge Ramon E. Reyes, Jr.

       The 6/5/2017 Final Pre-trial Conference is cancelled. Should defendants fail to appear at

       the conference, whether with counsel or pro se, the Court will issue a recommendation that

       judgment be entered against them for failing to follow a court order and failure to prosecute.

       Defendant's former counsel to serve each defendant with a copy of this order and the order

       on the motion to withdraw 17 within four (4) days and file proof of service on CM/ECF.

       Ordered by Magistrate Judge Ramon E. Reyes, Jr on 5/24/2017. (Vertus, Miriam) (Entered:

                                                 3
Case 1:16-cv-05303-DLI-RER Document 30 Filed 09/29/17 Page 4 of 5 PageID #: 174




        05/24/2017)”    See Exhibit 8 Certificate of Service of Court Order Dispatched to

        Defendants.

        13.    On June 27th, 2017, Plaintiffs appeared by counsel at the conference scheduled by

Magistrate Judge Ramon E. Reyes, however no representative from the Defendants arrived nor did

the Defendants themselves.

        14.    Magistrate Judge Reyes ordered a follow-up conference to be held on July 17th,

2017 in an effort to provide the Defendants with a second opportunity to prosecute their defense.

        15.    On July 17th, 2017, Plaintiff appeared at the conference but Defendants did not.

        16.    To date, no one has appeared on behalf of the Defendants to defend themselves in

this action.

        17.    "The failure by a corporate defendant to obtain counsel constitutes a failure to

defend," warranting the entry of a default judgment.” CAEL TECHNOLOGIES (PVT.) LTD. v.

PRECISE VOTING, LLC, No. CV-01470 (E.D.N.Y. Sept. 26, 2016).

        18.    A party who fails to appear or defend an action, even after initially interposing an

answer, is eligible to be defaulted upon motion whereupon the Clerk of the Court may be directed

to strike the Answer and enter a default. See Id.

        19.    Thus, Plaintiff now makes this application to the Court to issue an order directing

the Clerk of the Court to strike the Answer of Defendants Quentin Market Corp. and Susan Jong

Lee for failure to obey the Court directives to appear at two conferences, to participate in discovery,

to retain new counsel for the corporation and to otherwise fail to participate in this action.




                                                  4
Case 1:16-cv-05303-DLI-RER Document 30 Filed 09/29/17 Page 5 of 5 PageID #: 175




       20.     And, also to strike the Answer of Defendants Sean Oh and Won Ke Lee or to note

their default nunc pro tunc for failure to Answer at all in light of the error of prior defense counsel

in interposing an Answer on their behalf earlier in the case.

       21.     Proposed orders are attached as Exhibit 9 and Exhibit 10.

       22.     For the reasons stated above and in the accompanying declarations and exhibits, the

Plaintiffs’ motion to strike the Defendants’ Answer(s) should be granted.

       23.     I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

Dated: New York, New York
       August 24, 2017

                                               ______________________
                                               Colin Mulholland, Esq.




                                                  5
